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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

 THE STATE OF TEXAS, et al,                 §
                                            §
                                            §
         Plaintiffs,                        §
                                            §
 v.                                         §           Civil Action No. 4:20-cv-00957-SDJ
                                            §
 GOOGLE LLC,                                §
                                            §
                                            §
         Defendant.                         §



              JOINT MOTION TO ESTABLISH PAGE LIMITS FOR
         DAUBERT MOTIONS AND MOTIONS FOR SUMMARY JUDGMENT


TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       Pursuant to Fed. R. Civ. P. 16, the Parties file this joint motion to modify the page limits

established in the Local Rule CV-56 for motions for summary judgment and Local Rule CV-7 for

non-dispositive Daubert motions. For the reasons set forth below, the Parties ask the Court to issue

an Order expanding page limits as follows:

           ● Permitting the filing of two summary judgment motions—one directed to antitrust

               claims and one directed to state law claims—with opening briefs and responses

               limited to 60 pages each and replies limited to 15 pages.

           ● In light of the fact that the parties have designated nineteen expert witnesses,

               allowing each side to submit a consolidated Daubert motion with the motion and

               response limited to 15 pages per expert that is challenged, up to a maximum of 150

               pages and replies limited to 25 pages.
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      I.      Relevant Rules and Legal Standard

      Local Rule CV-56 provides that each summary judgment motion must include: (1) a

statement of the issues to be decided by the court, and (2) a “Statement of Undisputed Material

Facts.” Responses must likewise include a response to the statement of the issues and a response

to the Statement of Undisputed Material Facts. Local Rule CV-7 establishes page limits for

motions. “Case dispositive motions shall not exceed thirty pages, excluding attachments, unless

leave of court is first obtained,” Id. at CV-7 (a)(1), with responses limited to thirty pages, id., and

replies to ten pages. Id. Finally, “if a party files more than one summary judgment motion,” the

opening motion and response are limited to “sixty pages collectively, excluding attachments,”

and replies to twenty pages, collectively. Id. at CV-7(a)(3).

      Local Rule CV-7 provides that non-dispositive motions “shall not exceed fifteen pages,

excluding attachments, unless leave of court is first obtained,” Id. at CV-7(a)(2), with responses

limited to fifteen pages, and replies limited to five pages. Id. Rule CV-7(m) provides that motions

in limine directed to the exclusion of evidence “should be contained within a single document

subject to the page limitations of Local Rule CV-7(a)(2) for non-dispositive motions.”

      District Courts have broad discretion and “inherent power to manage their own proceedings

and control the conduct of those who appear before them.” Rodgers v. Louisiana Bord of Nursing,

665 Fed. App’x 326, 328 (5th Cir. 2016) citing e.g., Chambers v. NASCO, Inc., 501 U.S. 32, 43-

44 (1991) and Woodson v. Surgitek, Inc., 57 F.3d 1406, 1417 (5th Cir. 1995). “Such discretion

includes the authority to set page limits on matters submitted to the Court…” Ironshore Europe

DAC v. Schiff Hardin, LLP, 2018 W.L. 4183245 at *1 (E.D. Tex. Jan. 30, 2018). Parties seeking

to expand the number of pages must show good cause for exceeding the page limits, see Loften

v. Paton, 2018 WL 38922051 at *2 (E.D. Tex. Aug. 6, 2018), such as the existence of complex




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    issues that require more extensive briefing. See, e.g., Fed’l Deposit Ins. Corp. v. Schreiner, 892

    F.Supp. 848, 851 (W.D. Tex. 1995) (“In light of the complexity of the issues involved and the

    lack of any harm [to the other side] in allowing the FDIC to exceed the ten page limit, the Court

    hereby waives the requirement.”).

          II.     Good Cause Exists to Grant the Joint Request to Expand Page Limits

                  A. Background Relevant to this Joint Motion

          Seventeen Attorneys General filed this action against Defendant Google LLC asserting

claims arising from Google’s advertising technology software and tools. Plaintiffs’ operative

Complaint is their Fourth Amended Complaint, ECF 541. In it, Plaintiffs allege twenty antitrust

claims: three are common claims under Sections 1 and 2 of the Sherman Antitrust Act, Id. at

Counts I – III, seventeen others are distinct claims asserted under each state’s own state antitrust

law. Id. at Count V(1) – V(17). 1 In addition to these antitrust claims, each state has also sued

Google under its own state deceptive trade practices act. Id. at Count VI(1)-VI(17).

          In support of their claims or defenses, the parties have designated nineteen expert witnesses

for the liability phase of this case. The States initially designated six affirmative experts (Gans,

Chandler, Weinberg, Hochstetler, Pathak, and Andrien), then designated those six, plus five more

(DeRamus, Mathjowetz, Rudin, Shafiq, and Somayaji) as rebuttal experts, for a total of eleven

witnesses for the States during the liability phase. For its part, Google has designed eight expert

witnesses (Ghose, Hoffman, Milgrom, Rinard, Simonson, Skinner, Wiggins, and Baye). One other

expert for Google (Nieh), has opinions regarding only remedies.

          In total, Plaintiff States have asserted 37 distinct affirmative claims. As remedies for their



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 Plaintiffs’ Count IV, alleging an unlawful agreement with Facebook in violation of Sherman
Act §1, was dismissed while this action was pending in the multi-district litigation. See In re
Google Digital Advertising Antitrust Litig., 627 F.Supp.3d 346, 357 and 370 (S.D.N.Y. 2022).

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claims, Plaintiffs seek penalties under their deceptive trade practice statutes and injunctive relief.

Defendant Google moved to dismiss Plaintiffs’ claims under Rule 12(b)(1), ECF 200 and Rule

12(b)(6), ECF 202. The briefing remains under submission with the Court.

               B. This Case’s Complexity and Importance Warrants Additional Pages

       Rule CV-7 affords parties a total of 60 pages per side for dispositive motions. If divided

equally between the antitrust claims, on the one hand, and the state law claims on the other, the

page limit provided by the rules affords each side less than two pages per claim to address

allegations that seek billions of dollars in penalties under 34 different state statutes. After meeting

and conferring, the parties arrived at a compromise on summary judgment briefing that both sides

believe will best help the Court to understand and resolve the issues.

       Similarly, in resolving the admissibility of expert testimony, this Court must “make certain

that an expert, whether basing testimony upon professional studies or personal experience,

employes in the courtroom the same level of intellectual rigor that characterizes the practice of an

expert in the relevant field.” Kumho Tire Co. v. Carmichael, 526 U.S. 137, 1562 (1999). “This

gate-keeping obligation applies to all types of expert testimony, not just scientific testimony,”

Pipitone v. Biomatrix, Inc., 288 F.3d 239, 244 (5th Cir. 2002 ) (citing Kumho, 526 U.S. at 147),

because to be admissible expert testimony must be “not only relevant, but reliable.” Daubert v.

Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579, 590-93 (1993). After meeting and conferring,

the parties agreed that the page limits for non-dispositive Daubert motions provided by Local Rule

CV-7 were not adequate to help the Court to address the admissibility of expert testimony, given

the number of experts and the length and complexity of their reports. Accordingly, they jointly

request that the Court adopt the following briefing proposal.




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               C. The Parties’ Briefing Proposal

       Page limits serve the useful purpose of allowing the Court to shepherd its judicial resources.

Trial counsel for each side are mindful of the scale and complexity of the claims asserted in this

case, the magnitude of the monetary penalties the States seek, the number of experts designated

by each side, and the complexity of the topics on which these experts expect to testify. To address

all of that efficiently in summary judgment and Daubert motions warrants more pages than the

Local Rules allow. The parties believe good cause exists to expand the page limits for these

motions. Accordingly, we ask that the Court expand the page limits in the local rule and grant the

parties leave to file briefs with the page limits described below:

                       1. Summary Judgment

       The Parties agree to allow Google to file two, consolidated summary judgment motions.

The first motion will address Plaintiffs’ twenty federal and state antitrust claims. See ECF 541

(Fourth Amended Complaint at Counts I-III and V(1)-V(17)). The second motion will address

Plaintiffs’ state law deceptive trade practice claims. See Id. at Counts VI(1)-VI(17) (claims under

each state’s deceptive trade practices statute). The Parties propose the following briefing limits for

each motion:

   ● Opening Brief – 60 pages

   ● Response Brief – 60 pages

   ● Reply Brief – 15 pages

The Parties further ask the Court to permit them to file the required Statements of Undisputed

Material Fact and Responses to Statements of Undisputed Material Fact, see Loc. R. 56(a)(1), as

separate documents not subject to these page limits.

       Given the complexity of the issues raised, the multiple theories Plaintiffs are pursuing, the




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extent of the evidence that must be addressed for each of the seventeen states, and the unique

requirements of each State’s antitrust and deceptive trade practices statutes, the Parties believe this

is a sufficient number of pages of summary judgment briefing for a case of this magnitude,

providing good cause to expand the page limits provided by the Local Rule.

                       2. Daubert Motions

       For the liability trial, Plaintiffs have tendered eleven experts, and Google has tendered eight

experts. The expert reports collectively span thousands of pages. The Parties therefore propose

that the Court permit each side to file a single, consolidated Daubert motion not to exceed 15 pages

per expert the party decides to challenge, up to a maximum of 150 pages in length. They agree

responses should be limited to the length of the motion and replies to 25 pages. This expanded

page limit will allow each side to adequately address both the relevant Daubert standards for each

witness and explain how the anticipated testimony of the witness does not (or, in response, does)

conform to them. The Parties believe briefing of this length will ensure the Court has the

information it needs to conduct its gatekeeping role. Accordingly, they respectfully submit that

good cause exists to expand the page limits for the parties’ Daubert motions, as well.



                                          CONCLUSION

       For these reasons, the Parties respectfully request that the Court grant them leave to expand

the page limits for their summary judgment and Daubert motions. A proposed Order granting this

relief is attached as Exhibit “A” and has been filed on the ECF for the convenience of the Court.




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Dated: October 1, 2024             Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I certify that on October 1, 2024, this document was filed electronically in compliance with
Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per Local
Rule CV-5(a)(3)(A).

                                                            /s/ Kathy D. Patrick_______
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